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8                         UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,
12                                            CASE NO. CR. 96-350 WBS
                 Plaintiff,
13
          v.                                  ORDER
14
     MADY CHAN, et al.,
15
                 Defendants.
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                                   ----oo0oo----
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18               Defendant Mady Chan, pro se, has filed a handwritten
19   motion for reconsideration of this courts order denying
20   defendants’ motion to suppress wiretap evidence.        The motion
21   contains no valid or persuasive reason to reconsider the court’s
22   previous order.    The motion is therefore DENIED.
23   DATED:    February 24, 2006
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